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June 20,2018

Dear Customer:

The following is the proof-of-delivery for tracking number 781230914859.


Delivery Information:
Status:                     Delivered                      Delivered to:        Receptionist/Front Desk
Signed for by:              J.OSE VERA                     Delivery location:   AV. URDANETA TORRE
                                                                                MRE
                                                                                CARACAS, 1010 1010
Service type:               FedEx International Priority   Delivery date:       Jun 13, 2018 12:38
Special Handling:           Deliver Weekday




Shipping Information:
Tracking number:            781230914859                   Ship date:           Jun 1, 2018
                                                           Weight:              20.0 lbs/9.1 kg



Recipient:                                                 Shipper:
MINISTRY OF POPULAR POWER                                  NATHANIEL PUTNAM
CONSULAR RELATIONS OFFICE                                  COOLEY LLP
URDANETA AVENUE                                            1114 AVENUE OF THE AMERICAS
CARMELITE CORNER TO LLAGUNO BRIDGE                         NEW YORK, NY 10036 US
CARACAS, 1010 1010 VE
Reference                                                  332849-201-23361


Thank you for choosing FedEx.
